                      Case 3:14-cv-00696-MO               Document 4          Filed 04/28/14        Page 1 of 1
AO 120 (Rev. 08/10)
 TO:                           Mail Stop 8                                               REPORT ON THE
            Director of the U.S. Patent and Trademark Office                     FILING OR DETERMINATION OF AN
                              P.O. Box 1450                                      ACTION REGARDING A PATENT OR
                       Alexandria, VA 22313−1450                                           TRADEMARK

      In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. 1116, you are hereby advised that a court action has been
filed in the U.S. District Court for the District of Oregon on the following
     Trademarks or         Patents (     the patent action involves 35 U.S.C. § 292):

 DOCKET NO.                      DATE FILED                      U.S. DISTRICT COURT
 3:14−cv−00696−MO                4/28/2014                       District of Oregon
 PLAINTIFF                                                                    DEFENDANT
 Nike, Inc.                                                                   Tung Wing Ho
       PATENT OR                    DATE OF PATENT                          HOLDER OF PATENT OR TRADEMARK
     TRADEMARK NO.                  OR TRADEMARK
 1 1,214,930                     11/2/1982                       Nike, Inc.
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 3
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                      In the above−entitled case, the following patent(s)/trademark(s) have been included:

 DATE INCLUDED                   INCLUDED BY

                                                   Amendment             Answer           Cross Bill          Other Pleading


       PATENT OR                   DATE OF PATENT                         HOLDER OF PATENT OR TRADEMARK
     TRADEMARK NO.                 OR TRADEMARK
 1
 2
 3
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                  In the above−entitled case, the following decision has been rendered or judgment issued:

 DECISION/JUDGMENT




 CLERK                                           (BY) DEPUTY CLERK                                   DATE
 MARY L. MORAN                                   C. Brost                                            4/28/2014

Copy 1Upon initiation of action, mail this copy to Director Copy 3Upon termination of action, mail this copy to Director
Copy 2Upon filing document adding patent(s), mail this copy to Director Copy 4Case file copy
